         Case 2:05-cr-00231-JCC          Document 1210        Filed 10/30/08      Page 1 of 2




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04

05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR05-231-JCC
08               Plaintiff,               )
                                          )
09         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
10   HUGH GALE HENSCHEL,                  )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
11               Defendant.               )
     ____________________________________ )
12

13          An initial hearing on a petition for violation of supervised release was held before the

14 undersigned Magistrate Judge on October 30, 2008. The United States was represented by

15 Assistant United States Attorney Bruce Miyake, and the defendant by James Vonasch. The

16 proceedings were digitally recorded.

17          The defendant had been charged and convicted of Racketeer Influence and Corrupt

18 Organization-RICO, in violation of 18 U.S.C. § 1962(c). On or about April 7, 2006,

19 defendant was sentenced in the Honorable John C. Coughenour to a term of twelve (12)

20 months and one (1) day in custody, to be followed by three (3) years of supervised release.

21          The conditions of supervised release included the requirements that the defendant

22 comply with all local, state, and federal laws, and with the standard conditions. Special

23 conditions imposed included, but were not limited to, participate in substance abuse program,

24 financial disclosure, submit to search, no self employment or employment with friends

25 without approval, no association with outlaw motorcycle gang members, and abstain from

26 alcohol.

     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE
     PAGE 1
         Case 2:05-cr-00231-JCC          Document 1210        Filed 10/30/08      Page 2 of 2




01          In a Petition for Warrant or Summons, dated October 8, 2008, U.S. Probation Officer

02 Jerrod Akins asserted the following violation by defendant of the conditions of his supervised

03 release:

04          (1)      Consuming methamphetamine on or before September 16, 2008, in violation

05                   of standard condition No. 7.

06          The defendant was advised of his rights, acknowledged those rights, and admitted to

07 the alleged violation 1.

08          I therefore recommend that the Court find the defendant to have violated the terms

09 and conditions of his supervised release as to violation number 1, and that the Court conduct

10 a hearing limited to disposition. A disposition hearing on violation number 1 has been set

11 before the Honorable John C. Coughenour on December 12, 2008 at 9:00 a.m.

12            Pending a final determination by the Court, the defendant has been released, subject

13 to supervision.

14          DATED this 30th day of October, 2008.

15

16
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
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19 cc:      District Judge:                Honorable John C. Coughenour
            AUSA:                          Mr. Bruce Miyake
20
            Defendant’s attorney:          Mr. James Vonasch
21          Probation officer:             Mr. Lisa Combs

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS
     OF SUPERVISED RELEASE
     PAGE 2
